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5    Attorneys for Defendant
     JOSEPH LATU
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7
8                IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  Case No.: 2:15-CR-00209 GEB
12              Plaintiff,
                                                STIPULATION AND [PROPOSED]
13        vs.                                   ORDER PERMITTING DEFENDANT TO
                                                SPEND NIGHT OF APRIL 14,
14   JOSPEH LATU, et al.                        2016, WITHOUT ELECTRONIC
                                                MONITORING
15              Defendant.
                                                Judge: Garland E. Burrell,
16                                              Jr.
17        The United States of America, through its counsel
18   Christiaan Highsmith, and Clyde M. Blackmon, counsel for Joseph
19   Latu, stipulate that Mr. Latu may spend the night of April 14-
20   15, 2016, un-monitored by Pretrial Services.
21        Mr. Latu is under PreTrial Services supervision and is
22   subject to electronic location monitoring requiring him to stay
23   inside his residence from 10:00 a.m. to 8:00 p.m. on work days
24   and 7:00 p.m. to 7:00 a.m. on non-work days, or as adjusted by
25   the Pretrial Services Officer for medical, religious, employment
26   or court-ordered obligations.       Mr. Latu is scheduled to be
27   married to Katherina Afuola on April 14, 2016, at Thunder Valley
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               STIPULATION AND [PROPOSED] ORDER PERMITTING DEFENDANT TO
             SPEND NIGHT OF APRIL 14, 2016, WITHOUT ELECTRONIC MONITORING
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1    Casino Resort, 1200 Athens Avenue, Lincoln, California.             The
2    wedding is to commence at 11:00 a.m.         Mr. Latu and his family
3    have reservations to spend the night at Thunder Valley Casino
4    Resort after the ceremony.       Therefore, Mr. Latu requests that he
5    be allowed to be away from his home un-monitored from 7:30 a.m.
6    on April 14, 2016, to 6:00 p.m. on April 15, 2016.
7         U.S. Pretrial Services Officer Renee Basurto has confirmed
8    Mr. Latu’s wedding date and the overnight reservations at
9    Thunder Valley.
10               Accordingly, the parties stipulate that Joseph Latu’s
11   home curfew may be modified to allow him to attend the wedding
12   and to stay overnight at Thunder Valley Casino Resort by leaving
13   his home at 7:30 a.m. on April 14, 2016, and returning to his
14   home no later than 6:00 p.m. on April 15, 2016.
15        IT IS SO STIPULATED.
16   DATED:      April 7, 2016           By: //s// Clyde M. Blackmon for
                                                   Christiaan H. Highsmith,
17                                                 Assistant U.S. Attorney
18
19   DATED:      April 7, 2016           By: _//s// Clyde M. Blackmon___
                                                 CLYDE M. BLACKMON
20                                               Attorney for Defendant
                                                 Joseph Latu
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                STIPULATION AND [PROPOSED] ORDER PERMITTING DEFENDANT TO
              SPEND NIGHT OF APRIL 14, 2016, WITHOUT ELECTRONIC MONITORING
      Case 2:15-cr-00209-JAM Document 100 Filed 04/08/16 Page 3 of 3


1                                        ORDER
2         In light of the stipulation of the parties, it is ordered
3    that Joseph Latu’s home curfew is modified to permit him to
4    leave his home at 7:30 a.m. on April 14, 2016, and return no
5    later than 6:00 p.m. on April 15, 2016, for purposes of
6    attending his wedding and staying overnight at Thunder Valley
7    Casino Resort, 1200 Athens Avenue, Lincoln, California.
8    Dated:   April 7, 2016
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                STIPULATION AND [PROPOSED] ORDER PERMITTING DEFENDANT TO
              SPEND NIGHT OF APRIL 14, 2016, WITHOUT ELECTRONIC MONITORING
